Case 4:20-cv-05146-YGR   Document 974-7   Filed 01/31/23   Page 1 of 5




                    EXHIBIT 6

      Redacted Version of
       Document Sought
         to be Sealed
              Case 4:20-cv-05146-YGR              Document 974-7           Filed 01/31/23       Page 2 of 5




From:                Tracy Gao
Sent:                Monday, January 23, 2023 7:43 PM
To:                  Ryan McGee x3030; Viola Trebicka; QE Brown; Google Team
Subject:             RE: Brown v Google LLC, No 4:20-cv-03664-YGR-SVK; Preservation Meet & Confer


Ryan,

Below please find answers to your questions regarding the        tables:

    1. Specific to the                data sources:
           Their names (including any nicknames or codenames)
                Google’s response: We are not aware of any official or unofficial names of the                      tables.
                They are sometimes referred to by the directories in which they are stored, as follows:
                    
                    
                    
                    
           The identifiers (for example, but not limited to: biscotti,          IDFA, ADID, GAIA, Android ID, Zwieback)
                are contained in these data sources
                Google’s response: These tables contain Biscotti IDs.
    2. Specific to the Analytics data sources:
           The information stored in the                   and                tables, and what data is different between
                them
                Google’s response: the              table stores information related to Google Analytics 4 and the
                        table stores information related to Universal Analytics.

We have also reviewed your other questions, and they do not appear to be at all within the scope of the Court’s January
17 Order. For example, you ask for information on “how much data is added and deleted each day,” but that does not
help in any way to further the substance of the meet and confer, which is for the purpose of “Google demonstrating to
Plaintiffs how the information in the tables that are the subject of the Motion is contained in or may be derived from
other information that Google is preserving in this case.” Dkt. 830 at 2; see also 1/10/23 Hrg. Tr. 23:9‐10 (“I’m not going
to, again, reorder or reopen discovery and have a full review of everything in these tables.”); id. 25:24‐25 (“it will [] be
fairly simplified and direct inquiry or demonstration.”). If you believe that any of the questions we have not responded
to is relevant and helpful, please identify why so that we may consider.

We have emailed you separately regarding our availabilities for the meet and confer.

Best,
Tracy

From: Ryan McGee x3030 <rmcgee@forthepeople.com>
Sent: Monday, January 23, 2023 12:49 PM
To: Viola Trebicka <violatrebicka@quinnemanuel.com>; QE Brown <qebrown@quinnemanuel.com>; Google Team
<GOOGLETEAM@lists.susmangodfrey.com>
Subject: RE: Brown v Google LLC, No 4:20‐cv‐03664‐YGR‐SVK; Preservation Meet & Confer

                                     [EXTERNAL EMAIL from rmcgee@forthepeople.com]

                                                             1
                                                                                                                          Case 4:20-cv-05146-YGR                                                                                                                                                                                                                                                                                                                                              Document 974-7   Filed 01/31/23   Page 3 of 5


Thanks Viola.

It would be helpful to know going in that our requests below will be addressed and, if necessary, any clarification is
needed because Google’s engineers do not understand items on the list. That way the meet and confer will be more
efficient and we can focus on the substance rather than continued back and forth with clarifying requests.

So that we can gather our availability, it would also be helpful to know what times Google is looking at (or not available)
for the meet and confer.

Please let us know,
Ryan


Ryan McGee
Attorney
My Bio

P: (813) 223‐0931
F: (813) 222‐4702
A: 201 N Franklin St, 7th Floor, Tampa, FL 33602

    To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




    To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.      To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.   To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.   To help protect y our priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




A referral is the best compliment. If you know anyone that needs our help, please have them call our office 24/7.

From: Viola Trebicka <violatrebicka@quinnemanuel.com>
Sent: Monday, January 23, 2023 12:30 PM
To: Ryan McGee x3030 <rmcgee@forthepeople.com>; QE Brown <qebrown@quinnemanuel.com>; Google Team
<GOOGLETEAM@lists.susmangodfrey.com>
Subject: *EXT* RE: Brown v Google LLC, No 4:20‐cv‐03664‐YGR‐SVK; Preservation Meet & Confer

CAUTION:Use caution when clicking on links or opening attachments in this external email.



Ryan,
The Court asked for Brown and Calhoun to coordinate the meet and confer on this topic. We will make ourselves
available this week, and will coordinate a time that works for all plaintiffs’ counsel and counsel for Google.
Viola

From: Ryan McGee x3030 <rmcgee@forthepeople.com>
Sent: Monday, January 23, 2023 7:34 AM
To: QE Brown <qebrown@quinnemanuel.com>; Google Team <GOOGLETEAM@lists.susmangodfrey.com>
Subject: RE: Brown v Google LLC, No 4:20‐cv‐03664‐YGR‐SVK; Preservation Meet & Confer

                                                                                                                                                                                                                                                                                                                                                            [EXTERNAL EMAIL fromrmcgee@forthepeople.com]


Good morning,

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2
                                                                                                                                                                  Case 4:20-cv-05146-YGR                                                                                                                                                                                                                                                                                                                                                                          Document 974-7                                  Filed 01/31/23   Page 4 of 5

Following up on this request. Can you please let us know availability for the meet and confer?

Thanks,
Ryan


Ryan McGee
Attorney
My Bio

P: (813) 223‐0931
F: (813) 222‐4702
A: 201 N Franklin St, 7th Floor, Tampa, FL 33602

     The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




     The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.      The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the   The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct   The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.
                                                                                                                                                                     correct file and location .                                                                                                       file and location.




A referral is the best compliment. If you know anyone that needs our help, please have them call our office 24/7.

From: Ryan McGee x3030 <rmcgee@forthepeople.com>
Sent: Thursday, January 19, 2023 11:53 PM
To: QE Brown <qebrown@quinnemanuel.com>; Google Team <GOOGLETEAM@lists.susmangodfrey.com>
Subject: Brown v Google LLC, No 4:20‐cv‐03664‐YGR‐SVK; Preservation Meet & Confer

Counsel,

Following the Court’s January 10, 2023 hearing, Plaintiffs would like to meet and confer about the                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       data sources that
Google seeks relief from preserving.

We have worked with our consultants to identify the following areas of inquiry and non‐exhaustive questions for the
court‐ordered meet and confer with Google’s engineers:

    1. For all data sources:
            The current total size of each data source
            How much data is added and deleted each day
            The upstream and downstream sources
            The products, services, and algorithms that use these data sources
            Their retention periods
            The names of the root proto that defines the schema for these sources
            How these data sources can be queried (types of identifiers and other data points)
            The identifier(s) that each data source is keyed to
            The structure of each data source (columns present, field names, other data contained)
            Whether the data is exclusive to US‐based users or worldwide
            Whether the data is sampled and, if so, the sample rate
            Whether the sources also contain application traffic and, if so, the proportion of that application traffic
            Whether Google will provide a sample or daily snapshot of each data source
            Google’s investigation into data minimization strategies that would still preserve all of the data in these
                data sources
    2. Specific to the             data sources:
            Their names (including any nicknames or codenames)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              3
                                                                                                                                                                  Case 4:20-cv-05146-YGR                                                                                                                                                                                                                                                                                                                                                                          Document 974-7                                  Filed 01/31/23     Page 5 of 5

                The identifiers (for example, but not limited to: biscotti,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          , IDFA, ADID, GAIA, Android ID, Zwieback)
                are contained in these data sources
    3. Specific to the Analytics data sources:
           The information stored in the                  and                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       tables, and what data is different between
                them

Please advise your availability.

Regards,
Ryan

Ryan McGee
Attorney
My Bio

P: (813) 223‐0931
F: (813) 222‐4702
A: 201 N Franklin St, 7th Floor, Tampa, FL 33602

     The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




     The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.      The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the   The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct   The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.
                                                                                                                                                                     correct file and location .                                                                                                       file and location.




A referral is the best compliment. If you know anyone that needs our help, please have them call our office 24/7.

CONFIDENTIALITY NOTICE: This e-mail message including attachments, if any, is intended for the person or entity to
which it is addressed and may contain confidential and/or privileged material. Any unauthorized review, use, disclosure or
distribution is prohibited. If you are not the intended recipient, please contact the sender by reply e-mail and destroy all
copies of the original message. Thank you.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              4
